                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


JAMESETTA MCFARLAND-LAWSON,
               Plaintiff,

              v.                                         Case No. 16-CV-685

BENJAMIN J. CARSON, SR.,
                 Defendant.


                                         ORDER


       This matter was initially assigned to Magistrate Judge David Jones after all parties

consented to have him preside. Following Judge Jones’s resignation, the case was

reassigned to this court. Although the docket indicates that the Clerk’s Office distributed

new Consent to Proceed Before a Magistrate Judge forms to the parties, neither party has

returned the completed form. As the standing order of the Chief Judge that was included

with these forms states, “While the decision to consent or not to consent to the exercise of

jurisdiction by the magistrate judge is entirely voluntary, the duty to respond to this order

is mandatory.”

       Therefore, the court now orders the parties to each file a completed Consent to

Proceed Before a Magistrate Judge form no later than November 5, 2020. If the defendant

fails to timely file the completed form, the defendant’s pending motion to revoke the




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plaintiff’s leave to proceed in forma pauperis (ECF No. 140) may be denied. If the plaintiff

fails to timely file the completed form, the defendant’s pending motion (ECF No. 140)

may be granted.

       The Clerk shall mail a Consent to Proceed Before a Magistrate Judge form to the

plaintiff along with this order.

       SO ORDERED.

       Dated at Milwaukee, Wisconsin this 26th day of October, 2020.



                                                 _________________________
                                                 WILLIAM E. DUFFIN
                                                 U.S. Magistrate Judge




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